      Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 1 of 43



 1   MICHAEL J. HADDAD (SBN 189114)
     JULIA SHERWIN (SBN 189268)
 2   MAYA RODRIGUEZ SORENSEN (SBN 250722)
 3   TERESA ALLEN (SBN 264865)
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 6

 7   Attorneys for Plaintiff

 8                              UNITED STATES DISTRICT COURT

 9                             EASTERN DISTRICT OF CALIFORNIA
10   RANDALL SCOTT JOHNSON, DECEASED, by )
11   and through his Successor in Interest, KATHERINE )
     JOHNSON, KATHERINE JOHNSON, Individually, )
12                                                    )
                     Plaintiff,                       )   Case No.
13                                                    )
            vs.
                                                      )
                                                      )   COMPLAINT FOR DAMAGES,
14
     CITY OF REDDING, a public entity; REDDING        )   DECLARATORY &
15   POLICE CHIEF ROGER MOORE; REDDING                )   INJUNCTIVE RELIEF, AND
     POLICE OFFICER DARREN HULL; REDDING              )   DEMAND FOR JURY TRIAL
16   POLICE OFFICER TREVOR KUYPER; SHASTA )
     COUNTY, a public entity; SHASTA COUNTY           )
17   SHERIFF-CORONER TOM BOSENKO, in his              )
     individual and official capacities; SHASTA       )
18                                                    )
     COUNTY JAIL CAPTAIN DAVE KENT;
     SERGEANT B. RODGERS; DEPUTY                      )
19                                                    )
     MCQUILLAN; DEPUTY WYATT MASON;
                                                      )
20   DEPUTY JOSHUA DORSTAD; CALIFORNIA                )
     FORENSIC MEDICAL GROUP,                          )
21   INCORPORATED, a California corporation; DOE )
     Defendant 1; KERI RUBALCAVA, R.N.;               )
22
     AMANDA REAM, R.N.; LINDA SMITH, R.N.;            )
23   JOHN MAIKE, Psychiatric R.N.; CYNTHIA            )
     COLLINS, L.V.N.; SHELBY CALLAHAN, L.V.N.; )
24   DEBORAH SAEGER, MFT, and DOES 2–20;              )
     individually, jointly, and severally,            )
25                                                    )
                                                      )
26                                                    )
                     Defendants.                      )
27

28
     COMPLAINT AND JURY DEMAND
      Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 2 of 43



 1          Plaintiff, by and through her attorneys, HADDAD & SHERWIN LLP, for her Complaint

 2   against Defendants, states as follows:

 3                                               JURISDICTION

 4          1.         This is a civil rights wrongful death/survival action arising from Defendants’
     unreasonable seizure, unlawful arrest, and deliberate indifference to the serious medical and mental
 5
     health needs of pretrial detainee, RANDALL JOHNSON, resulting in his death on August 16, 2018,
 6
     at the Shasta County jail. This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the
 7
     Fourth and Fourteenth Amendments to the United States Constitution, and the laws and
 8
     Constitution of the State of California. Jurisdiction is conferred upon this Court by 28 U.S.C. §§
 9
     1331 and 1343. Plaintiff further invokes the supplemental jurisdiction of this Court pursuant to 28
10
     U.S.C. § 1367, to hear and decide claims arising under state law.
11
                                         INTRADISTRICT ASSIGNMENT
12
            2.         A substantial part of the events and/or omissions complained of herein occurred in
13
     the City of Redding, Shasta County, California, and, pursuant to Eastern District Civil Local Rule
14   120(d), this action is properly assigned to the Sacramento Division of the United States District
15   Court for the Eastern District of California.
16                                         PARTIES AND PROCEDURE
17          3.         Plaintiff KATHERINE JOHNSON is the sister of Decedent RANDALL JOHNSON
18   and a resident of the State of Washington. Plaintiff KATHERINE JOHNSON brings these claims
19   individually and as successor in interest for Decedent RANDALL JOHNSON pursuant to

20   California Code of Civil Procedure §§ 377.10 et seq. Decedent RANDALL JOHNSON had no

21   spouse or children, and his parents are deceased, making his sister, Plaintiff KATHERINE

22   JOHNSON, entitled to intestate succession as his next of kin. A successor in interest declaration is

23   filed herewith.
            4.         Plaintiff brings these claims pursuant to California Code of Civil Procedure §§
24
     377.20 et seq. and 377.60 et seq., which provide for survival and wrongful death actions. Plaintiff
25
     also brings her claims individually and on behalf of Decedent RANDALL JOHNSON on the basis
26
     of 42 U.S.C. §§ 1983 and 1988, the United States Constitution, federal and state civil rights law,
27

28
     COMPLAINT AND JURY DEMAND                           1
      Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 3 of 43



 1   and California law. Plaintiff also brings these claims as a Private Attorney General, to vindicate not

 2   only her rights, but others’ civil rights of great importance.

 3          5.      Defendant CITY OF REDDING (“CITY”) is a public entity, duly organized and

 4   existing under the laws of the State of California. Under its authority, the CITY owns, operates,
     manages, directs, and controls the Redding Police Department (“RPD”), which employs and/or is
 5
     responsible for the other City of Redding Defendants in this action. Pursuant to California
 6
     Government Code § 815.2, the CITY is vicariously liable for the state law torts of its employees and
 7
     agents, including the individual Defendants herein.
 8
            6.      Defendant Redding Police Chief ROGER MOORE (“MOORE”), at all times
 9
     mentioned herein, was employed by Defendant CITY OF REDDING as Chief of Police, and he was
10
     acting within the course and scope of that employment. As Chief of Police, Defendant MOORE
11
     was a policy making official for Defendant CITY, with the power to make official and final policy
12
     for the RPD. In that capacity, Defendant MOORE was ultimately responsible for all hiring,
13
     training, supervision, policies, customs, and procedures of the Redding Police Department, and
14   specifically for the supervision and training of Defendants Redding Police Officers DARREN
15   HULL and TREVOR KUYPER, and for the ratification of their misconduct in this matter.
16   Defendant MOORE is being sued in his individual capacity.
17          7.      Defendant REDDING POLICE OFFICER DARREN HULL (“HULL”), at all times
18   mentioned herein, was employed by Defendant CITY OF REDDING as a police officer, and was
19   acting within the course and scope of that employment.

20          8.      Defendant REDDING POLICE OFFICER TREVOR KUYPER (“KUYPER”), at all

21   times mentioned herein, was employed by Defendant CITY OF REDDING as a police officer, and

22   was acting within the course and scope of that employment.

23          9.      Defendant COUNTY OF SHASTA (“COUNTY”) is a public entity, duly organized
     and existing under the laws of the State of California. Under its authority, the COUNTY operates
24
     the Shasta County Sheriff’s Office (SCSO).
25
            10.     Defendant SHERIFF-CORONER TOM BOSENKO (“BOSENKO”), at all times
26
     mentioned herein, was employed by Defendant COUNTY as Sheriff-Coroner for the COUNTY,
27
     and he was acting within the course and scope of that employment. In that capacity, Defendant
28
     COMPLAINT AND JURY DEMAND                          2
      Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 4 of 43



 1   BOSENKO was a policy making official for the COUNTY OF SHASTA. Further, Defendant

 2   BOSENKO was ultimately responsible for the provision of medical care to inmates at the

 3   COUNTY jail, including assessment of inmates for medical emergencies and possible mental health

 4   needs, and all COUNTY and CFMG policies, procedures, and training related thereto. He is being
     sued in his individual capacity.
 5
            11.     Defendant CAPTAIN DAVE KENT (“KENT”), at all times mentioned herein, was
 6
     employed by Defendant COUNTY as Captain of the Custody Division, including the jail, for the
 7
     COUNTY, and he was acting within the course and scope of that employment. In that capacity,
 8
     Defendant KENT was a policy making official for the COUNTY OF SHASTA. Further, Defendant
 9
     KENT was responsible for the general management and control of the Custody Division, with
10
     primary authority and responsibility for the operations, staff assignments, program development,
11
     personnel supervision and training, maintenance and auxiliary inmate services at the jail,
12
     subordinate only to the Sheriff and/or Undersheriff.
13
            12.     Defendant SERGEANT B. RODGERS (“RODGERS”), at all times mentioned
14   herein, was employed by Defendant COUNTY as a sergeant and supervisor at the jail, and was
15   acting within the course and scope of that employment.
16          13.     Defendant DEPUTY MCQUILLAN (“MCQUILLAN”), at all times mentioned
17   herein, was employed by Defendant COUNTY as a corrections deputy at the jail, and was acting
18   within the course and scope of that employment.
19          14.     Defendant DEPUTY WYATT MASON (“MASON”), at all times mentioned herein,

20   was employed by Defendant COUNTY as a corrections deputy at the jail, and was acting within the

21   course and scope of that employment.

22          15.     Defendant DEPUTY JOSHUA DORSTAD (“DORSTAD”), at all times mentioned

23   herein, was employed by Defendant COUNTY as a corrections deputy at the jail, and was acting
     within the course and scope of that employment.
24
            16.     Defendant CALIFORNIA FORENSIC MEDICAL GROUP, INC. (“CFMG”), was at
25
     all times herein mentioned, a California corporation licensed to do business in California, with its
26
     corporate headquarters located in Monterey, California. Defendant CFMG provided medical,
27
     mental health, and nursing care to pretrial and post-conviction detainees and prisoners in Shasta
28
     COMPLAINT AND JURY DEMAND                         3
      Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 5 of 43



 1   County Jails, pursuant to a contract with the COUNTY OF SHASTA. On information and belief,

 2   CFMG and their employee and medical director for CFMG’s services at Shasta County Jail, DOE

 3   Defendant 1, are responsible for making and enforcing policies, procedures, supervision, and

 4   training related to the medical care of prisoners and detainees in Defendant COUNTY OF
     SHASTA’s jails, including but not limited to assessing inmate-patients for mental health and
 5
     emergency medical needs, sending patients for emergency medical care and mental health care,
 6
     providing appropriate alcohol and drug detoxification and withdrawal care, and refusing jail
 7
     admission for patients before they have received necessary medical clearance and care from a
 8
     hospital. On information and belief, CFMG and its employees and agents are and were at all
 9
     material times responsible for making and executing policies, procedures, supervision, and training
10
     related to the medical care and/or mental health care of detainees and prisoners in the COUNTY OF
11
     SHASTA jails, including, but not limited to, properly assessing and classifying inmates, properly
12
     sending inmates for emergency medical and mental health care, properly sending inmates for
13
     medical clearance before admission to the jail, properly assessing and addressing the mental health
14   needs of inmates, alcohol and drug detoxification and withdrawal, properly assessing and treating
15   the serious medical and mental health needs of inmates, including suicide prevention, observation of
16   suicidal and potentially suicidal inmates, mental illness, and emotional disturbance. Defendants
17   DOE Defendant 1, KERI RUBALCAVA, R.N., AMANDA REAM, R.N., LINDA SMITH, R.N.,
18   Psychiatric Nurse JOHN MAIKE, R.N., CYNTHIA COLLINS, L.V.N., SHELBY CALLAHAN,
19   L.V.N., DEBORAH SAEGER, MFT -- as well as certain DOE DEFENDANTS including, but not

20   limited to CFMG employees and agents acting within the course and scope of their employment

21   with CFMG (and within the course and scope of their employment by COUNTY by virtue of

22   CFMG’s contract with COUNTY) -- were all responsible for properly sending inmates for

23   emergency medical care and/or medical clearance before admitting them to the jail, assessing and
     classifying inmates, properly assessing and addressing the medical needs of inmates, properly
24
     assessing and addressing the mental health needs of inmates, providing appropriate alcohol and
25
     drug detoxification and withdrawal, properly assessing and treating the serious medical needs of
26
     inmates, providing appropriate observation and a treatment plan for serious medical needs,
27

28
     COMPLAINT AND JURY DEMAND                        4
      Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 6 of 43



 1   including suicide prevention, care and treatment for mental illness and emotional disturbance,

 2   monitoring inmates, and summoning emergency medical care when it was needed.

 3          17.     DOE Defendant 1 was at all times herein mentioned a physician licensed to practice

 4   medicine in the State of California, a managing agent and employee of Defendant CFMG, working
     as the medical director of Defendant COUNTY’s jails responsible for overseeing and providing
 5
     medical care to prisoners and detainees, and he was acting within the course and scope of that
 6
     employment. On information and belief, DOE Defendant 1 was ultimately responsible for CFMG’s
 7
     provision of medical care to inmates at the jails, including sending inmate-patients for emergency
 8
     medical care, refusing to admit patients due to a medical emergency, refusing to admit patients until
 9
     they received medical clearance from a hospital, assessing patients for possible mental health and
10
     emergency medical needs, including assessing patients for possible suicide risk, instituting
11
     appropriate suicide precautions; instituting and supervising appropriate alcohol and drug
12
     detoxification and withdrawal, approving housing classification; instituting appropriate treatment
13
     plans for the serious medical and mental health needs of patients; communicating about a patient’s
14   medical and mental health needs with custodial staff, health care professionals, and outside
15   facilities; and all CFMG policies, procedures, and training related thereto.
16          18.     In addition, DOE Defendant 1 was at all times responsible for staffing the CFMG
17   medical and psychiatric services at SHASTA COUNTY jail, including but not limited to providing
18   appropriate staff-to-patient ratios, making sure that only properly licensed and credentialed health
19   care providers provide care, and that no provider work outside his or her scope of practice or

20   licensure. DOE Defendant 1 acted with deliberate indifference to the serious medical needs of

21   RANDALL JOHNSON and other patients.

22          19.     Defendant KERI RUBALCAVA, R.N. was at all material times CFMG’s Program

23   Manager for SHASTA COUNTY, and acted within the course and scope of her duties. She was
     responsible for all aspects of the medical and mental health care provided by CFMG employees at
24
     Shasta County jail, including, staffing, training, and supervision of all nursing staff. She did so with
25
     deliberate indifference to the serious medical needs of RANDALL JOHNSON and other patients.
26
     In addition, Defendant RUBALCAVA allowed and assigned Licensed Vocational Nurses to work
27
     outside their legal scope of practice.
28
     COMPLAINT AND JURY DEMAND                         5
      Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 7 of 43



 1          20.       Defendant AMANDA REAM, R.N. was at all material times employed by

 2   Defendant CFMG, and acted within the course and scope of that employment. Defendant REAM

 3   performed the intake medical and mental health assessment on Decedent RANDALL JOHNSON

 4   when he was booked into jail, and failed to follow appropriate protocols for assessing, monitoring,
     and treating Decedent, including failing to send him for emergency medical treatment, failing to
 5
     obtain a medical clearance before admitting him to the jail, failing to provide appropriate alcohol
 6
     and drug detoxification and withdrawal care, failing to summon medical care for Decedent, and
 7
     failing to inform any physician or mid-level provider about Mr. JOHNSON’s condition and serious
 8
     medical needs, despite his obvious medical and/or mental health emergency requiring immediate
 9
     transfer to a hospital for inpatient emergency and psychiatric treatment, with deliberate indifference
10
     to Mr. JOHNSON’s serious medical needs.
11
            21.       Defendant LINDA SMITH, R.N., was at all material times employed by Defendant
12
     CFMG, and acted within the course and scope of that employment. As set forth below, Defendant
13
     SMITH failed to properly assess and treat RANDALL JOHNSON, failed to summon emergency
14   medical care for him, and failed to inform any physician or mid-level provider about his emergent
15   and life-threatening medical condition, all with deliberate indifference to Mr. JOHNSON’s serious
16   medical needs.
17          22.       Defendant JOHN MAIKE, R.N., was at all material times employed by Defendant
18   CFMG, and acted within the course and scope of that employment. As set forth below, Defendant
19   MIAKE failed to properly assess and treat RANDALL JOHNSON, failed to summon emergency

20   medical care for him, and failed to inform any physician or mid-level provider about his emergent

21   and life-threatening medical condition, all with deliberate indifference to Mr. JOHNSON’s serious

22   medical needs.

23          23.       Defendant CYNTHIA COLLINS, L.V.N., was at all material times employed by
     Defendant CFMG, and acted within the course and scope of that employment. As set forth below,
24
     Defendant COLLINS worked outside her legal scope of practice as a Licensed Vocational Nurse
25
     (“L.V.N.”), failed to properly request a properly licensed, nursing or medical assessment for
26
     RANDALL JOHNSON, failed to summon emergency medical care for him, and failed to inform
27

28
     COMPLAINT AND JURY DEMAND                         6
      Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 8 of 43



 1   any physician, mid-level provider, or registered nurse about his emergent and life-threatening

 2   medical condition, all with deliberate indifference to Mr. JOHNSON’s serious medical needs.

 3          24.     Defendant SHELBY CALLAHAN, L.V.N., was at all material times employed by

 4   Defendant CFMG, and acted within the course and scope of that employment. As set forth below,
     Defendant CALLAHAN worked outside her legal scope of practice as a Licensed Vocational Nurse
 5
     (“L.V.N.”), failed to properly request a properly licensed, nursing assessment for RANDALL
 6
     JOHNSON, failed to summon emergency medical care for him, and failed to inform any physician,
 7
     mid-level provider, or registered nurse about his emergent and life-threatening medical condition,
 8
     all with deliberate indifference to Mr. JOHNSON’s serious medical needs.
 9
            25.     Defendant DEBORAH SAEGER, MFT, was at all material times employed by
10
     Defendant CFMG, and acted within the course and scope of that employment. As set forth below,
11
     Defendant SAEGER was notified of MR. JOHNSON’s grave condition multiple times by CFMG
12
     Defendants REAM, SMITH, COLLINS, and CALLAHAN yet failed to go to the jail to assess him,
13
     failed to summon emergency medical care, and failed to inform any physician or mid-level provider
14   of his need for emergency medical care, in deliberate indifference to MR. JOHNSON’s serious
15   medical and mental health needs.
16          26.     Plaintiff is ignorant of the true names and capacities of Defendants DOES 1-20
17   (DOE Defendants”) and therefore sues these Defendants by such fictitious names. Plaintiff is
18   informed and believes and thereon alleges that each Defendant so named is responsible in some
19   manner for the injuries and damages sustained by Plaintiff as set forth herein. Plaintiff will amend

20   her complaint to state the names and capacities of each DOE DEFENDANT when they have been

21   ascertained.

22          27.     Plaintiff is informed and believes and thereon alleges that each of the Defendants

23   was at all material times an agent, servant, employee, partner, joint venturer, co-conspirator, and/or
     alter ego of the remaining Defendants, and in doing the things herein alleged, was acting within the
24
     course and scope of that relationship. Plaintiff is further informed and believes and thereon alleges
25
     that each of the Defendants herein gave consent, aid, and assistance to each of the remaining
26
     Defendants, and ratified and/or authorized the acts or omissions of each Defendant as alleged
27
     herein, except as may be hereinafter specifically alleged. At all material times, each Defendant was
28
     COMPLAINT AND JURY DEMAND                         7
      Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 9 of 43



 1   jointly engaged in tortious activity and an integral participant in the conduct described herein,

 2   resulting in the deprivation of Plaintiff's and Decedent’s constitutional rights and other harm.

 3           28.    The acts and omissions of Defendant REDDING POLICE OFFICERS DARREN

 4   HULL, TREYVOR KUYPER, and CHIEF MOORE were at all material times pursuant to the
     actual customs, policies, practices and procedures of the CITY OF REDDING and the Redding
 5
     Police Department. The acts and omissions of COUNTY AND CFMG DEFENDANTS as set forth
 6
     herein, were at all material times pursuant to the actual customs, policies, practices and procedures
 7
     of the COUNTY, the Shasta County Sheriff’s Office and/or CFMG.
 8
             29.    At all material times, each Defendant acted under color of the laws, statutes,
 9
     ordinances, and regulations of the State of California and either Shasta County or the City of
10
     Redding.
11
             30.    Plaintiff timely and properly filed tort claims with Shasta County and the City of
12
     Redding pursuant to California Government Code sections 910 et seq., and this action is timely filed
13
     within all applicable statutes of limitation.
14           31.    This complaint may be pled in the alternative pursuant to Federal Rule of Civil
15   Procedure 8(d).
16                                         GENERAL ALLEGATIONS
17           32.    Plaintiff realleges each and every paragraph in this complaint as if fully set forth
18   here.
19           33.    RANDALL JOHNSON was a 56-year-old man who suffered from depression and
20   had a significant history of severe alcoholism, including bouts of delirium tremens and blackouts,
21   and past suicidal conduct and ideations.
22           34.    On or about August 14, 2018, at approximately 7:53 p.m., MR. JOHNSON’s friend,
23   Kevin Hafenstein, called 911 seeking medical assistance for MR. JOHNSON after observing MR.
24   JOHNSON sitting outside of his home in his driveway at 1287 Deodar Way, Redding California,
25   wearing only underwear and shoes, hallucinating, making incoherent statements, and talking to
26   himself and to people who were not present. Mr. Hafenstein explained to the 911 dispatcher that
27   MR. JOHNSON was a severe alcoholic with no known history of drug use, and that he had begun
28
     COMPLAINT AND JURY DEMAND                         8
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 10 of 43



 1   taking methamphetamine a few days before in an attempt to commit suicide. Mr. Hafenstein further

 2   explained that the methamphetamine was still affecting MR. JOHNSON and that Mr. Hafenstein

 3   thought he might be overdosing. Mr. Hafenstein also informed the 911 dispatcher that Mr. Johnson

 4   had no weapons in his possession.

 5          35.    At approximately 8:00 p.m., Mr. Hafenstein called 911 again and explained that MR.

 6   JOHNSON had now vomited, soiled himself multiple times, and continued to ramble unintelligibly.

 7   Mr. Hafenstein further told the 911 dispatcher he thought MR. JOHNSON was overdosing, and

 8   needed an ambulance quickly, and Mr. Hafenstein said MR. JOHNSON was screaming and Mr.
 9   Hafenstein had never seen him act that way before. When asked by the 911 dispatcher if MR.
10   JOHNSON was becoming aggressive, Mr. Hafenstein responded, “He’s still sitting down, he’s not
11   moving because he has soiled himself numerous times and keeps talking about it.”
12          36.    The following SHASCOM dispatch detail went out to the Redding Police
13   Department (“RPD”): “REQ [REQUEST] 5150 EVAL [EVALUATION] ON FRIEND. FRIEND
14   IS CURRENTLY SITTING IFO RESD [IN FRONT OF RESIDENCE] TALKING TO PEOPLE
15   WHO ARENT [SIC] THERE. FRIEND HAS HX [HISTORY] OF ALCOHOLISM AND POSS
16   [POSSIBLY] INJECTED HIMSELF W/METH [WITH METHAMPHETAMINE] SEVERAL
17   DAYS AGO. MALE IS NOT KNOWN TO USE H & S [HEALTH & SAFETY CODE
18   CONTROLLED SUBSTANCES]. FRIEND IS UNAWARE RP [REPORTING PARTY] IS

19   CALLING.”

20          37.    The Shasta County 911 dispatcher also called American Medical Response

21   ambulance service, informing them of the need to respond for a California Welfare & Institutions

22   Code § 5150 evaluation for MR. JOHNSON at his home, and a paramedic and emergency medical

23   technician responded to the scene.

24          38.    At approximately 8:34 p.m., Defendants Redding Police Officers DARREN HULL

25   and TREVOR KUYPER responded to MR. JOHNSON’S home at 1287 Deodar Way in Redding for

26   a Welfare & Institutions Code § 5150 evaluation. At that time, Defendant Redding Police Chief

27   ROGER MOORE and the Redding Police Department did not equip officers with video or audio

28
     COMPLAINT AND JURY DEMAND                       9
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 11 of 43



 1   recorders. Defendant HULL reported that, upon arrival, he observed MR. JOHNSON wearing only

 2   underwear and shoes, curled into the fetal position on his left side, with feces seeping out of his

 3   underwear and feces smeared on his back and arms. Rather than provide medical assistance, ask

 4   Mr. Hafenstein what had transpired, or even inquire into MR. JOHNSON’S well-being, Defendants

 5   HULL and KUYPER immediately approached MR. JOHNSON and unnecessarily placed his arms

 6   in painful twist lock control holds. Defendant HULL then handcuffed MR. JOHNSON as he laid in

 7   his own urine and feces. Defendant HULL noted that MR. JOHNSON’s heart beat was 130 beats

 8   per minute, which indicated that he was suffering from tachycardia, given that a healthy adult heart
 9   normally beats 60–100 times per minute, and that he “spoke rapidly and randomly, was overall
10   fidgety, had rapid eyelid fluttered, and constricted pupils.” Defendant HULL also reported that
11   MR. JOHNSON stated that “he had used $100 of methamphetamine, partially by injecting it into his
12   system, partially by ingesting it anally,” and that he had “used the methamphetamine constantly
13   during the past three days.” MR. JOHNSON specifically informed Defendant HULL that “he used
14   a large amount of methamphetamine to kill himself.” Given this information, Defendant HULL and
15   KUYPER should have immediately sought emergency medical care for MR. JOHNSON, but failed
16   to do so in deliberate indifference to his serious medical and psychiatric needs.
17          39.     At approximately 8:44 p.m., the American Medical Response (AMR) paramedic and
18   EMT arrived on scene, but Defendants HULL and KUYPER turned them away, advising -- with no

19   basis at all -- that no medical assistance was needed, with deliberate indifference to MR.

20   JOHNSON’s obvious and serious medical needs. The AMR life support personnel left the scene

21   with no contact with MR. JOHNSON, due to Defendants HULL and KUYPER’s deliberate choice

22   to prevent these desperately needed emergency medical treaters from reaching MR. JOHNSON.

23   Defendants HULL and KUYPER knew or must have known that MR. JOHNSON was suffering

24   from obvious and apparent signs of being in an emergency medical and psychiatric crisis and in

25   need of immediate hospitalization, yet they prevented AMR from assessing MR. JOHNSON’S

26   serious medical needs. Defendant HULL later falsely reported that AMR assisted with cleaning

27

28
     COMPLAINT AND JURY DEMAND                         10
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 12 of 43



 1   MR. JOHNSON up before Defendants transported him to Shasta County Jail, when in fact, AMR

 2   never provided any care to MR. JOHNSON at all.

 3          40.     Despite MR. JOHNSON indisputably fitting the Welfare and Institutions Code

 4   §5150 criteria for being a danger to himself or others, or gravely disabled, and despite his obvious

 5   medical emergency and need to go to the hospital immediately, rather than transporting him to a

 6   hospital for emergency medical and psychiatric care, Defendants HULL and KUYPER unlawfully

 7   arrested MR. JOHNSON for public intoxication pursuant to California Penal Code § 647(f), and

 8   Defendant HULL transported him to Shasta County jail, in deliberate indifference to his serious
 9   medical and psychiatric needs. During the entire incident, MR. JOHNSON remained in his
10   driveway, on his private property, never having entered the public, and the arrest for public
11   intoxication was clearly unlawful and unconstitutional.
12          41.     Upon arrival at the Shasta County jail, MR. JOHNSON was placed in the sally port
13   area to await booking. As noted below, Defendant Deputy WYATT MASON (“MASON”) cleared
14   MR. JOHNSON for admission to the jail. Defendant Deputy MCQUILLAN was briefed about the
15   fact that MR. JOHNSON had injected as much methamphetamine as he could and inserted the
16   remaining amount into his rectum in an attempt to commit suicide. With deliberate indifference to
17   MR. JOHNSON’S serious medical needs, Defendant MCQUILLAN did not summon emergency
18   medical care for MR. JOHNSON, instead allowing him to be held in the COUNTY jail.

19          42.     The sally port and booking area were equipped with audio and video recording

20   devices that captured the intake process. Defendant HULL escorted MR. JOHNSON into the sally

21   port area and placed him on a bench. MR. JOHNSON was screaming in agony, hallucinating,

22   talking to people who were not there, talking to himself, making outbursts of incoherent statements,

23   and singing. He continued to make self-harming statements, such as “Just pull your gun out and

24   shoot me. You’ll get it done quick.” He informed the jail staff that, “I tried to commit suicide,” and

25   “I took $100 worth of meth.” As he sat handcuffed on the bench, MR. JOHNSON vomited and

26   continued to soil himself.

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28
     COMPLAINT AND JURY DEMAND                        11
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 13 of 43



 1          43.     At about 9:21 p.m., CFMG Defendant AMANDA REAM, R.N. (“REAM”)

 2   performed the jail’s intake medical and mental health assessment on MR. JOHNSON. Defendant

 3   REAM evaluated MR. JOHNSON and noted that his pulse was tachycardic, significantly elevated

 4   at 128 bpm. Defendant REAM noted that MR. JOHNSON informed her he had a history of

 5   hypertension and heart disease, placing him at increased risk of death or serious physical injury

 6   from methamphetamine. MR. JOHNSON also suffered from extensive bruising, which Defendant

 7   REAM failed to document. Defendant REAM further noted that MR. JOHNSON was under the

 8   influence of methamphetamine and that he stated, “I tried to commit suicide with $100 worth of
 9   meth.” Even though Defendant REAM knew MR. JOHNSON had not only injected
10   methamphetamine but also took it rectally, she stated “No” in response to the intake assessment
11   form’s question whether the patient had ingested or placed any drugs into a body cavity. Defendant
12   REAM marked on the intake form that MR. JOHNSON exhibited feelings of
13   guilt/worthlessness/shame, depression, that he was acting incoherently or strange by making
14   outbursts of unusual statements, that he appeared dirty and disheveled, he had rapid speech, was
15   engaging in inappropriate activity, making statements of loss of job and girlfriend, and expressing
16   feelings of hopelessness and lack of compassion in the world. Despite noting these serious medical
17   and mental health conditions, rather than send MR. JOHNSON to a hospital immediately,
18   Defendant REAM simply notified CFMG Defendant DEBORAH SAEGER, MFT (“SAEGER”),

19   who was miles away, of MR. JOHNSON’S condition and determined that MR. JOHNSON was

20   medically fit to enter the jail without any emergency medical or psychiatric treatment or even any

21   medical clearance from a hospital. Defendant REAM chose not to refuse jail admission for MR.

22   JOHNSON and send him to a hospital Emergency Department for evaluation, not to make an

23   emergent/urgent medical provider referral, and not even to schedule MR. JOHNSON for any

24   medical provider sick call. Defendant SAEGER who, on information and belief, lived over 90

25   miles away from the jail, was informed of MR. JOHNSON’s condition and failed to come into the

26   jail to assess MR. JOHNSON, failed to summon emergency medical care, and failed to notify any

27   physician or mid-level provider of his need for emergency medical care, in deliberate indifference

28
     COMPLAINT AND JURY DEMAND                        12
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 14 of 43



 1   to MR. JOHNSON’s serious medical and mental health needs. At no time before his death did MR.

 2   JOHNSON ever see any physician, physician’s assistant, or nurse practitioner. Upon information

 3   and belief, no Defendant informed any physician, physician’s assistant, or nurse practitioner of MR.

 4   JOHNSON’s medical or mental health condition at any time before he died.

 5          44.     COUNTY Defendant Sergeant B. RODGERS (“RODGERS”) was, on information

 6   and belief, the jail supervisor at the time of MR. JOHNSON’s booking and admission, and

 7   responsible for all supervision, as well as the admission and care of inmates at the jail. COUNTY

 8   Defendant Deputy MASON was assigned as the Booking Processor at Shasta County jail at the time
 9   MR. JOHNSON was booked, and cleared MR. JOHNSON for admission to the jail without
10   necessary emergency medical care or clearance, with deliberate indifference to MR. JOHNSON’s
11   serious medical needs.
12          45.     On information and belief, Defendant RODGERS also authorized MR. JOHNSON’s
13   entry into the jail. Defendant MASON then booked MR. JOHNSON into the jail as a pretrial
14   detainee and, together, Defendants RODGERS and REAM determined that MR. JOHNSON should
15   be placed in a Safety Cell. Defendants REAM, RODGERS, and MASON had actual knowledge
16   that MR. JOHNSON was in extreme medical and psychiatric distress and in need of emergency
17   medical/psychiatric care, and they decided not to provide or request such necessary treatment for
18   MR. JOHNSON in a hospital, in deliberate indifference to his serious medical needs.

19          46.     At the time of the booking, on information and belief, Defendant HULL did not

20   inform jail staff that MR. JOHNSON had a history of alcoholism, as Defendant HULL had been

21   informed by the 911 dispatcher. However, MR. JOHNSON had previously been arrested and held

22   at the SHASTA COUNTY jail due to his alcoholism and intoxication. At no time was MR.

23   JOHNSON provided appropriate alcohol and drug detoxification and withdrawal care or

24   monitoring.

25          47.     Given MR. JOHNSON’s condition, Defendants MASON, RODGERS, and REAM

26   should have gone on a computer in the booking area and looked up information from MR.

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28
     COMPLAINT AND JURY DEMAND                       13
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 15 of 43



 1   JOHNSON’s previous incarcerations. Had they looked, they would have learned that MR.

 2   JOHNSON had past incarcerations related to his alcoholism.

 3          48.     As MR. JOHNSON sat on the bench in the sally port area awaiting entry into the jail,

 4   he defecated and vomited on himself again while suffering from the effects of his attempted suicide

 5   by methamphetamine intoxication. Video footage shows Defendants HULL, MASON, and Deputy

 6   A. Amaya laughing at MR. JOHNSON, cracking jokes, and gagging in disgust at MR. JOHNSON’s

 7   condition as MR. JOHNSON watched them helplessly, handcuffed, and unable to provide for his

 8   own medical needs. Defendants HULL, MASON, and/or Deputy A. Amaya made cruel and
 9   insensitive comments to MR. JOHNSON, such as, “Dude you smell so fucking bad, it’s ridiculous,”
10   and, “You smell like butthole, bro.” Defendant HULL also laughed about his decision to arrest
11   MR. JOHNSON rather than transport him to a hospital. During all this time, Defendant REAM was
12   present and never once advocated for her patient, MR. JOHNSON, nor summoned the emergency
13   medical care he needed. Instead, she allowed these Defendants to taunt him and make fun of his
14   medical emergency.
15          49.     At approximately 9:30 p.m., Defendants HULL, MASON, and Deputy Amaya
16   escorted MR. JOHNSON to the Safety Cell. On information and belief in view of Defendants
17   HULL and MASON, Deputies H. Cortez and M. Espinoza and other deputies arrived to assist with
18   the placement. Deputy Cortez grabbed MR. JOHNSON’S left arm while Defendant MASON

19   grabbed MR. JOHNSON’S right arm and both Deputies Cortez and MASON forcibly pinned MR.

20   JOHNSON’s wrists behind his back using painful rear wrist lock pain compliance holds. Deputy

21   Espinoza then forcibly used a leg sweep maneuver to take MR. JOHNSON down to the ground. On

22   information and belief, there was no need to use any force on MR. JOHNSON at all, as he had been

23   following the deputies’ orders throughout the booking, intake, and the safety cell placement

24   process. On information, Defendants HULL and MASON were present and observed this excessive

25   force by other deputies and failed to intervene to stop it or to protect MR. JOHNSON, exhibiting

26   further callousness and indifference to MR. JOHNSON’s well-being and medical needs. MR.

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28
     COMPLAINT AND JURY DEMAND                       14
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 16 of 43



 1   JOHNSON was then placed in a Safety Cell, his clothing was removed and he was given a Safety

 2   smock and a blanket.

 3          50.     At approximately midnight on August 15, 2018, CFMG Defendant LINDA SMITH,

 4   R.N. (“SMITH”) checked MR. JOHNSON’S vital signs in the Sobering Cell. On information and

 5   belief, jail and/or medical staff cleared Mr. JOHNSON from the Safety Cell he was initially placed

 6   in and moved him to a Sobering Cell at some point between intake and midnight despite MR.

 7   JOHNSON being in an obvious medical and psychiatric crisis. Defendant SMITH noted that MR.

 8   JOHNSON’S vital signs continued to be elevated: 132/112 blood pressure, pulse was 103 bpm and
 9   his respiration rate was 18. Knowing that MR. JOHNSON’s vital signs had been elevated for hours
10   at this point and he had taken large amounts of methamphetamine in an attempt to commit suicide,
11   Defendant SMITH failed to summon emergency medical care or contact the on-call medical
12   provider (physician or physician’s assistant), with deliberate indifference to MR. JOHNSON’s
13   serious medical needs. Defendant SMITH also notified Defendant SAEGER of MR. JOHNSON’s
14   medical and mental health condition at this time and again Defendant SAEGER failed to come into
15   the jail to assess MR. JOHNSON, failed to summon emergency medical care, and failed to notify
16   any physician or mid-level provider of his need for emergency medical care, all in deliberate
17   indifference to MR. JOHNSON’s serious medical and mental health needs.
18          51.     When Defendant SMITH returned to check on MR. JOHNSON at approximately

19   4:00 a.m., she reported, “[Inmate] angry [refused] to sit up for vs; leave me alone!” She also noted

20   that at that time Mr. JOHNSON had started passing a bowel movement and began touching his

21   genitalia. Instead of summoning additional assistance from the jail deputies or other medical staff

22   so that she could perform the important vital signs check on MR. JOHNSON, whose vital signs had

23   been elevated when she earlier had checked them, Defendant SMITH simply noted that he should

24   be checked again at 8:00 a.m. Again, with deliberate indifference to MR. JOHNSON’s serious

25   medical needs, Defendant SMITH chose not to send MR. JOHNSON for emergency medical care

26   or notify the on-call medical provider about his condition. Defendant SMITH notified Defendant

27   SAEGER of MR. JOHNSON’s condition again, yet Defendant SAEGER failed to come into the jail

28
     COMPLAINT AND JURY DEMAND                        15
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 17 of 43



 1   to assess MR. JOHNSON, failed to summon emergency medical care, and failed to notify any

 2   physician or mid-level provider of his need for emergency medical care, all in deliberate

 3   indifference to MR. JOHNSON’s serious medical and mental health needs.

 4          52.     At approximately 9:00 a.m., CFMG Defendant CYNTHIA COLLINS, L.V.N.

 5   (“COLLINS”) cleared MR. JOHNSON from the Sobering Cell and did a Safety Cell assessment on

 6   him, outside her legal scope of practice. Defendant COLLINS noted that MR. JOHNSON was

 7   cleared from the Sobering Cell and that his vital signs remained significantly abnormal: his blood

 8   pressure was 138/88, his heart rate had slowed to 56 bpm, which indicated that he was suffering
 9   from bradycardia, and his respiration rate was 18. Defendant COLLINS also noted that MR.
10   JOHNSON had a hard time following directions, and that Mental Health had seen MR. JOHNSON
11   at his cell, and that his next “meth check” would be the next day, on August 16, 2018 at 4:00 a.m.
12   On information and belief, MR. JOHNSON’s vital signs were never checked again after this August
13   15, 2018, 9:00 a.m. check by Defendant COLLINS. Defendant COLLINS also notified Defendant
14   SAEGER of MR. JOHNSON’s medical and mental health condition and again Defendant SAEGER
15   failed to come into the jail to assess MR. JOHNSON, failed to summon emergency medical care,
16   and failed to notify any physician or mid-level provider of MR. JOHNSON’S need for emergency
17   medical care, despite having been notified of MR. JOHNSON’s serious medical and mental health
18   condition on at least four occasions at this point, all in deliberate indifference to his serious medical

19   and mental health needs.

20          53.     As a Licensed Vocational Nurse, Defendant COLLINS’s scope of practice limited

21   her to collecting data, recording observations, and reporting those observations to a Registered

22   Nurse or a physician to do a physical assessment of the patient. LVN’s are not permitted to work

23   independently; they must work under the direct supervision of a Registered Nurse or physician at all

24   times. Defendant COLLINS, despite knowing the limits on the LVN scope of practice, improperly

25   assessed MR. JOHNSON’S condition, worked without the legally required supervision, and failed

26   to request an RN, mid-level provider, or physician to assess MR. JOHNSON’S condition, all in

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28
     COMPLAINT AND JURY DEMAND                          16
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 18 of 43



 1   direct violation of the legal scope of practice for LVNs and with deliberate indifference to MR.

 2   JOHNSON’S serious medical needs.

 3          54.     On February 14, 2017, Ann Shuman, R.N., on behalf of the California Board of

 4   Vocational Nursing and Psychiatric Technicians (BVNPT), informed Defendants that triage is

 5   outside the legal scope of practice for Licensed Vocational Nurses. Defendant CFMG has a long

 6   history of having LVN’s work alone in county jails, unsupervised, and outside their legal scope of

 7   practice, conducting patient assessments.

 8          55.     Ms. Shuman testified on February 26, 2018, in a wrongful death case in the Northern
 9   District of California against Defendant CFMG: Neuroth v. Mendocino County, et al., No. 3:15-CV-
10   03226-RS. With CFMG’s attorneys present, Ms. Shuman confirmed the legal limits on the LVN
11   scope of practice and testified that the decisions whether to refer the patient for emergency medical
12   care or emergency or crisis mental health evaluation, assign a patient to a Safety Cell or Sobering
13   Cell, assess whether a patient is at risk of suicide, assign the patient to the next mental health clinic
14   or for routine mental health evaluation, are triage decisions outside the LVN scope of practice. In
15   addition to clear law and regulations limiting the LVN scope of practice, Defendant CFMG was put
16   on notice by the BVNPT long before MR. JOHNSON’s death that their LVNs were working
17   outside of their scope of practice, yet CFMG and its employees and managing agents, including
18   DOE 1 continued the practice throughout the jails they serve, including Shasta County jail.

19          56.     Defendants CFMG, DOE Defendant 1, and RUBALCAVA persistently assigned

20   LVN’s to work unsupervised and alone, outside their legal scope of practice.

21          57.     CFMG holds itself and its officers, directors, and managing agents out as experts in
22   the field of correctional healthcare. Yet, CFMG has been criticized for its inadequate health care

23   provided to inmates throughout the State of California. A January 17, 2015, article in the

24   Sacramento Bee entitled, "California for-Profit Company Faces Allegations of Inadequate Inmate

25   Care," reported that CFMG's population-adjusted rate of suicide or drug overdose deaths in custody

26   is 50% higher than non-CFMG counties. In a 10-year period ending in May 2014, 92 people died
     of suicide or a drug overdose while in the custody of a jail served by CFMG.
27
     (https://www.sacbee.com/news/investigations/the-public-eye/article7249637.html)
28
     COMPLAINT AND JURY DEMAND                          17
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 19 of 43



 1            58.   Plaintiff is informed and believes and thereon alleges that CFMG must pay for
 2   emergency and inpatient hospital treatment for SHASTA COUNTY jail inmates, creating a

 3   disincentive for CFMG to refer patients such as MR. JOHNSON off-site for necessary, emergency

 4   inpatient hospitalization or psychiatric treatment.

 5            59.   Plaintiff is further informed and believes and thereon alleges that Defendants CFMG,

 6   DOE Defendant 1, and RUBALCAVA allow uncredentialed Licensed Vocational Nurses (LVN’s)
     to perform the work of Registered Nurses (RN’s) and higher level care providers, in order to save
 7
     money, since CFMG pays LVN’s significantly less than it pays RN’s.
 8
              60.   On August 15, 2018, at approximately 10:11 a.m., mental health nurse, CFMG
 9
     Defendant JOHN MAIKE, R.N. (“MAIKE”), conducted a mental health sick call on MR.
10
     JOHNSON in the Safety Cell. Defendant MAIKE noted that MR. JOHNSON was sitting on the
11
     floor in the Safety Cell talking to himself, picking at the floor, had rambled speech, and was
12
     disorganized. Rather than having MR. JOHNSON transported to a hospital for a § 5150 evaluation
13
     or emergency medical care, Defendant MAIKE kept MR. JOHNSON on suicide watch and simply
14
     encouraged him to stay hydrated, in deliberate indifference to his serious medical and mental health
15
     needs.
16
              61.   Over the next several hours, at approximately 3:30 p.m. in the Safety Cell and at
17
     9:30 p.m. in the Sobering Cell, CFMG Defendant SHELBY CALLAHAN, L.V.N.
18
     (“CALLAHAN”) checked on MR. JOHNSON and reported that he refused to allow her to check his
19
     vital signs during both checks. Defendant CALLAHAN knew or must have known that MR.
20
     JOHNSON’s vital signs had been significantly elevated since at least the previous day and he had
21
     been suffering from both tachycardia and bradycardia, had vomited and defecated on himself the
22
     previous day, and continued exhibiting signs of distress and grave medical and mental health
23
     emergency. Defendant CALLAHAN failed to contact an R.N. or the on-call provider upon
24
     observing MR. JOHNSON’s condition or to inform them of the failure to take MR. JOHNSON’s
25
     vital signs, and further failed to summon emergency care for him. Defendant CALLAHAN notified
26
     Defendant SAEGER of MR. JOHNSON’s condition during both Safety Cell and Sobering Cell
27
     checks and again Defendant SAEGER failed to come into the jail to assess MR. JOHNSON, failed
28
     COMPLAINT AND JURY DEMAND                         18
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 20 of 43



 1   to summon emergency medical care, and failed to notify any physician or mid-level provider of his

 2   need for emergency medical care, in deliberate indifference to MR. JOHNSON’s serious medical

 3   and mental health needs.

 4          62.     On August 16, 2018, at approximately 4:00 a.m., CFMG Defendant LINDA SMITH,

 5   RN, conducted a Safety Cell check on MR. JOHNSON and noted that he refused to have his vital

 6   signs checked again. At this point, MR. JOHNSON’s vital signs had not been checked since 9:00

 7   a.m. the previous day. Defendant SMITH also knew that MR. JOHNSON had refused his vital sign

 8   checks on August 15, 2018. At approximately 5:50 a.m. on August 16, 2018, Defendant SMITH,
 9   signed off on the notations created by Defendant COLLINS on August 15 at 9:38 a.m., and
10   Defendant CALLAHAN on August 15 at 10:48 p.m., noting that MR. JOHNSON had refused to
11   have his vital signs taken. Yet, she did nothing to obtain the life-saving emergency medical
12   treatment and assessment MR. JOHNSON needed. Defendant SMITH notified Defendant
13   SAEGER again of MR. JOHNSON’s grave condition, yet Defendant SAEGER failed to come into
14   the jail to assess MR. JOHNSON, failed to summon emergency medical care, and failed to notify
15   any physician or mid-level provider of his need for emergency medical care, in deliberate
16   indifference to his serious medical and mental health needs.
17          63.     Defendant SAEGER was notified of MR. JOHNSON’s deteriorating medical and
18   mental health condition on seven separate occasions over a two day period and never once came to

19   the jail to assess MR. JOHNSON, never summoned emergency medical care, and never informed

20   any physician or mid-level provider of his need for emergency medical care. CFMG Defendants

21   REAM, SMITH, COLLINS, and CALLAHAN simply continued to report that they notified

22   Defendant SAEGER of MR. JOHNSON’s condition while knowing that Defendant SAEGER had

23   not made any effort to ensure MR. JOHNSON obtained the emergency medical care he desperately

24   needed, even though Defendants REAM, SMITH, COLLINS, and CALLAHAN observed MR.

25   JOHNSON’s medical and mental health continue to decline hour after hour, all in deliberate

26   indifference to his serious medical and mental health needs.

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28
     COMPLAINT AND JURY DEMAND                       19
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 21 of 43



 1          64.     Throughout the nearly two days MR. JOHNSON spent incarcerated at Shasta County

 2   jail, multiple jail deputies conducted intermittent Safety Cell and Sobering Cell checks on him and

 3   noted that they observed MR. JOHNSON sitting, standing or laying down talking to himself.

 4          65.     MR. JOHNSON’s last documented Safety Cell check was claimed to have occurred

 5   at 6:45 a.m. on August 16, 2018, by County Deputy Christopher Murrill. On information and

 6   belief, the COUNTY’s Safety Cell policy requires direct visual observations of inmates in safety

 7   cells twice every thirty minutes.

 8          66.     After MR. JOHNSON’S death, County Defendant Deputy JOSHUA DORSTAD
 9   (“DORSTAD”) reported that he conducted a welfare check on MR. JOHNSON in the Safety Cell at
10   approximately 7:20 a.m. on August 16, 2018. Defendant DORSTAD claimed that MR. JOHNSON
11   was standing at the door when he checked on him, and when Defendant DORSTAD said “Good
12   morning,” MR. JOHNSON “mumbled a few unintelligible word to me and contained to look out of
13   his cell.” Defendant DORSTAD’s alleged welfare check was not documented in the Safety Cell
14   logs, as required, on information and belief, by COUNTY policy. Additionally, as noted below,
15   MR. JOHNSON was already deceased by 7:20 a.m. on August 16, 2018.
16          67.     At approximately 7:35 a.m., Defendant MCQUILLAN and another COUNTY
17   Deputy attempted to get MR. JOHNSON to go to the mental health clinic. When the deputies
18   opened the cell door and Defendant MCQUILLAN told MR. JOHNSON to get up to go see Mental

19   Health, Mr. JOHNSON did not reply. Defendant MCQUILLAN reports he tried to move MR.

20   JOHNSON, and MR. JOHNSON was cold to the touch and pulseless. COUNTY deputies told

21   Defendant COLLINS to come and assess MR. JOHNSON. As an LVN, doing the assessment was

22   outside the legal scope of practice for Defendant COLLINS. Upon touching MR. JOHNSON,

23   Defendant COLLINS also noted MR. JOHNSON was cold to touch, she believed he had a slight

24   and sporadic carotid pulse, and his skin color was gray.

25          68.     Additionally, by the time the Defendant Sheriff-Coroner’s investigator, Leo Spear,

26   arrived and assessed MR. JOHNSON at 8:20 a.m., on August 16, 2018, livor mortis was present

27   and blanching, and Mr. Spear also noted multiple contusions on MR. JOHNSON’s legs, forearms,

28
     COMPLAINT AND JURY DEMAND                        20
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 22 of 43



 1   and buttocks. The medical evidence discussed above confirms that MR. JOHNSON had been

 2   deceased long before Defendant MCQUILLAN found him unresponsive, and he was certainly

 3   deceased when Defendant DORSTAD claimed in his late supplemental report written after MR.

 4   JOHNSON’s death that he had done a safety cell check on MR. JOHNSON at 7:20 a.m.

 5          69.     Watch Commander Chase Reed summoned an ambulance after the deputies’

 6   attempts to revive MR. JOHNSON were unsuccessful. The paramedics arrived, but also could not

 7   revive Mr. JOHNSON. Time of death was called at 8:01 a.m. on August 16, 2018.

 8          70.     All COUNTY and CFMG employed Defendants had actual knowledge that MR.
 9   JOHNSON was suffering from serious emergency medical/psychiatric needs, and all Defendants
10   were deliberately indifferent to those serious medical/psychiatric needs, and denied MR. JOHNSON
11   necessary medical and/or psychiatric care, including necessary emergency care. Defendants were
12   deliberately indifferent to MR. JOHNSON’s safety and medical/psychiatric needs in their jail
13   admission, placement, assessment, and custody, and care decisions. On information and belief, due
14   to such deliberate indifference, MR. JOHNSON’s medical/psychiatric condition deteriorated.
15          71.     Additionally, even though MR. JOHNSON was an alcoholic, at no time did any
16   Defendant put him on appropriate detoxification protocols, causing him to endure untreated alcohol
17   withdrawal.
18          72.     Once Defendants knew that MR. JOHNSON had ingested methamphetamine, the

19   effects of which were causing excessively elevated vital signs, they should have sent him to a

20   hospital Emergency Department immediately, instead they left him in the jail for nearly two days,

21   suffering, and in serious need of appropriate emergency medical treatment.

22          73.     Defendants HULL, KUYPER, ROGERS, MASON, MCQUILLAN, DORSTAD,

23   REAM, SMITH, MAIKE, COLLINS, CALLAHAN, SAEGER, and the remaining DOE

24   DEFENDANTS knew and/or must have known that MR. JOHNSON had serious medical and

25   psychiatric needs requiring emergency treatment, care, and hospitalization, and that with deliberate

26   indifference to such needs, these Defendants, and/or remaining DOES caused MR. JOHNSON to be

27   deprived of such necessary, life-saving medical and psychiatric care.

28
     COMPLAINT AND JURY DEMAND                        21
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 23 of 43



 1          74.       According to the official Shasta County autopsy report, MR. JOHNSON’s cause of

 2   death was: toxic effects of methamphetamine, with hypertensive cardiovascular disease as a

 3   significant condition. The manner of death was considered a suicide.

 4          75.       The autopsy report also included a list of injuries present on MR. JOHNSON’s body

 5   during the autopsy:

 6                •   A 1 x 1 purple contusion is at the lower inner mucosal lip just right of anterior

 7                    midline.

 8                •   A pair of punctate red petechiae straddles the maxillary frenulum.
 9                •   A large somewhat rectilinear and obliquely oriented 12 x 7 purple-brown contusion
10                    is on the right buttock.
11                •   Approximately 5 x 2.5 cm indistinct mauve contusion with overlying linear and
12                    parallel pink-orange abrasion up to 1 cm is on the posterior left hand near the base of
13                    the thumb.
14                •   Indistinct purple-pink contusion with irregular pink-orange abrasion measuring 3 x 1
15                    cm covers the ventral medial right wrist.
16                •   The dorsolateral right wrist is covered by mauve contusion overlaid by four linear
17                    and horizontally red-pink abrasions up to 3.5 cm long and each separated by 0.3 cm.
18                •   A 3 x 3 cm mauve contusion is on the proximal lateral left thigh.

19                •   A 1.5 x 1 cm orange-brown abrasion is on the lateral left knee.

20                •   Indistinct pink-purple contusion covers the lateral left knee.

21                •   A 2 x 2 cm orange-brown abrasion is on the lateral left knee.

22                •   A 3 x 2 cm pink-brown abrasion is on the anteromedial left knee.

23                •   A 1 x 0.2 cm orange-brown abrasion, horizontally oriented, is on the proximal

24                    anterior left lower leg.

25                •   A 3 x 0.8 cm orange-brown abrasion is on the proximal anterior left lower leg.

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28
     COMPLAINT AND JURY DEMAND                          22
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 24 of 43



 1                •   Indistinct pink-purple contusion with few overlying punctate to up to 1 x 1 cm

 2                    brown-red abrasion cover the lateral right knee and proximal anterolateral right

 3                    lower leg.

 4                •   An indistinct 3 x 2 cm mauve contusion is on the lateral right malleolus.

 5                •   A 2 x 2 cm red-brown abrasion/contusion is on the proximal anteromedial right

 6                    lower leg.

 7                •   A 1.2 x 0.4 cm pink-orange abrasion is on the proximal anterior right lower leg.

 8                •   Indistinct mauve contusion spans the mid-portion of the anteromedial right lower
 9                    leg.
10                •   A 4 x 2 cm mauve contusion with 1 x 0.5 cm pink-orange abrasion is on the distal
11                    anteromedial right lower leg.
12                •   Ovoid pink-orange abrasions up to 1 cm in greatest dimension are scattered across
13                    the dorsal right foot.
14                •   A 7.5 x 6 cm mauve contusion is on the anteromedial right thigh.
15          76.       MR. JOHNSON’s death was the proximate result of the CITY Defendants’ decision
16   to falsely arrest MR. JOHNSON while he was in a medical/psychiatric crisis on his own property,
17   rather than allow the AMR paramedic and EMT to evaluate and treat MR. JOHNSON and transport
18   him to the hospital for emergency medical care for his serious medical/psychiatric needs.

19          77.       Decedent’s death was also the proximate result of the individual COUNTY

20   Defendants’ (RODGERS, MASON, MCQUILLAN, DORSTAD, and DOES) and CFMG

21   Defendants’ (REAM, SMITH, MAIKE, COLLINS, CALLAHAN, SAEGER and DOES) deliberate

22   indifference to his serious medical needs, as set forth above.

23          78.       MR. JOHNSON’s death was also the proximate result of Defendant COUNTY’s

24   failure to reasonably train and supervise jail deputies tasked with screening, admitting, observing,

25   monitoring, and protecting MR. JOHNSON. These substantial failures reflect Defendant

26   COUNTY’s policies implicitly or directly ratifying and/or authorizing the deliberate indifference to

27   serious medical needs and the failure to reasonably train, instruct, monitor, supervise, investigate,

28
     COMPLAINT AND JURY DEMAND                         23
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 25 of 43



 1   and discipline deputy sheriffs employed by Defendants COUNTY and SHERIFF-CORONER TOM

 2   BOSENKO (“BOSENKO”) in the use of unnecessary force and deliberate indifference to inmates’

 3   serious medical needs.

 4          79.     Decedent’s death was also the proximate result of Defendants CFMG and CFMG’s

 5   Medical Director, DOE Defendant 1, and Program Manager, KERI RUBALCAVA, R.N.’s failure

 6   to reasonably staff, train, supervise, and equip their medical and mental healthcare staff in the

 7   proper and reasonable screening, assessment, and care of emotionally disturbed inmates or inmates

 8   needing emergency medical treatment; failure to implement and enforce generally accepted, lawful
 9   policies and procedures at the jail; deliberate choices to permit and require LVN’s to work outside
10   of their legal scope of practice; and deliberate indifference to the serious medical/psychiatric needs
11   of inmates such as RANDALL JOHNSON. These substantial failures reflect Defendant CFMG’s
12   policies implicitly ratifying and/or authorizing the deliberate indifference to serious medical needs
13   by their medical and mental healthcare staff and the failure to reasonably train, instruct, monitor,
14   supervise, investigate, and discipline medical and mental healthcare staff employed by Defendants.
15          80.     At all material times, and alternatively, the actions and omissions of each Defendant
16   were intentional, wanton, and/or willful, conscience-shocking, reckless, malicious, deliberately
17   indifferent to Decedent’s and Plaintiff’s rights, done with actual malice, grossly negligent,
18   negligent, and objectively unreasonable.

19          81.     As a direct and proximate result of each Defendant’s acts and/or omissions as set

20   forth above, to the extent permitted and pled by the various legal claims set forth below, Plaintiff

21   sustained the following injuries and damages, past and future, among others:

22                  a.      Wrongful death of RANDALL JOHNSON, pursuant to Cal. Code of Civ.
23                          Proc. § 377.60 et. seq.;

24                  b.      Loss of support and familial relationships, including loss of love,
                            companionship, comfort, affection, society, services, solace, and moral
25                          support, pursuant to Cal. Code of Civ. Proc. § 377.60 et. seq.;
26                  c.      RANDALL JOHNSON’s hospital and medical expenses, pursuant to Cal.
27                          Code of Civ. Proc. § 377.20 et. seq.;

28
     COMPLAINT AND JURY DEMAND                         24
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 26 of 43


                    d.      RANDALL JOHNSON’s coroner’s fees, funeral and burial expenses,
 1                          pursuant to Cal. Code of Civ. Proc. § 377.20 et. seq.;
 2
                    e.      Violation of RANDALL JOHNSON’s constitutional rights, pursuant to Cal.
 3                          Code of Civ. Proc. § 377.20 et. seq. and federal civil rights law;

 4                  f.      RANDALL JOHNSON’s loss of life, pursuant to federal civil rights law;
 5                  g.      RANDALL JOHNSON’s conscious pain, suffering, and disfigurement,
 6                          pursuant to federal civil rights law;

 7                  h.      All damages and penalties recoverable under 42 U.S.C. §§ 1983 and 1988,
                            and as otherwise allowed under California and United States statutes, codes,
 8                          and common law.
 9
                                FIRST CAUSE OF ACTION
10                                  (42 U.S.C. § 1983)
             AGAINST DEFENDANTS HULL, KUYPER, RODGERS, MASON, MCQUILLAN,
11              DORSTAD, REAM, SMITH, MAIKE, COLLINS, CALLAHAN, SAEGER
                                 AND REMAINING DOES
12

13            82.   Plaintiff realleges each and every paragraph in this complaint as if fully set forth
14   here.
15            83.   By the actions and omissions described above, Defendants HULL, KUYPER,
16   RODGERS, MASON, MCQUILLAN, DORSTAD, REAM, SMITH, MAIKE, COLLINS,
17   CALLAHAN, SAEGER, AND REMAINING DOES violated 42 U.S.C. § 1983, depriving
18   Decedent RANDALL JOHNSON, through Plaintiff herein, of the following clearly established and
19   well-settled constitutional rights protected by the Fourth and Fourteenth Amendments to the United
20   States Constitution:
21
                         a. Decedent’s right to be free from deliberate indifference to RANDALL
22                       JOHNSON’s serious medical needs while in custody as a pretrial detainee as
                         secured by the Fourth and/or Fourteenth Amendments.
23
              84.   Additionally, by the actions and omissions leading up to RANDALL JOHNSON’s
24
     admission into the jail described above, Defendants HULL and KUYPER violated 42 U.S.C. §
25
     1983, depriving Decedent RANDALL JOHNSON, through Plaintiff herein, of the following clearly
26
     established and well-settled constitutional rights protected by the Fourth and Fourteenth
27
     Amendments to the United States Constitution:
28
     COMPLAINT AND JURY DEMAND                         25
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 27 of 43



 1                  a.     Decedent’s right to be free from unreasonable seizure and unlawful arrest
 2                         without probable cause, as secured by the Fourth Amendment;

 3                  b.     Decedent’s right to be free from objectively unreasonable conduct and
                           deliberate indifference to RANDALL JOHNSON’s serious medical needs
 4                         while in custody as a detainee and/or arrestee as secured by the Fourth and/or
                           Fourteenth Amendments.
 5
             85.    Defendants subjected Decedent to their wrongful conduct, depriving Decedent of
 6
     rights described herein, knowingly, maliciously, and with conscious and reckless disregard for
 7
     whether the rights and safety of Decedent and others would be violated by their acts and/or
 8
     omissions.
 9
             86.    As a direct and proximate result of Defendants’ acts and/or omissions as set forth
10
     above, Decedent, through Plaintiff herein, sustained injuries and damages as set forth above at ¶ 81.
11
             87.    The conduct of Defendants entitles Plaintiff to punitive damages and penalties
12
     allowable under 42 U.S.C. § 1983 and as provided by law. Plaintiff does not seek punitive damages
13
     against Defendants COUNTY or CITY.
14
             88.    Plaintiff is also entitled to reasonable costs and attorneys’ fees under 42 U.S.C. §
15
     1988, and other applicable United States and California codes and laws.
16

17                                SECOND CAUSE OF ACTION
                                    (Monell - 42 U.S.C. § 1983)
18                       AGAINST DEFENDANTS COUNTY, CITY, AND CFMG

19           89.    Plaintiff realleges each and every paragraph in this complaint as if fully set forth
20
     here.
21
             90.    The unconstitutional actions and/or omissions of Defendants RODGERS, MASON,
22
     MCQUILLAN, DORSTAD, REAM, SMITH, MAIKE, COLLINS, CALLAHAN, SAEGER, and
23
     REMAINING DOES, as well as other employees or officers employed by or acting on behalf of the
24

25   Defendants COUNTY and/or CFMG, on information and belief, were pursuant to the following

26   customs, policies, practices, and/or procedures of Defendants COUNTY and/or CFMG, stated in the
27

28
     COMPLAINT AND JURY DEMAND                         26
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 28 of 43


     alternative, which were directed, encouraged, allowed, and/or ratified by policymaking officers for
 1

 2   Defendant COUNTY and its Sheriff’s Office and/or Defendant CFMG:

 3                  a.     To deny pretrial detainees and other inmates access to timely, appropriate,
                           competent, and necessary care for serious medical and psychiatric needs,
 4                         requiring such inmates in crisis to remain untreated in jail instead of
                           providing for their emergency medical needs;
 5

 6                  b.     To allow and encourage inadequate and incompetent medical and mental
                           health care for jail inmates and arrestees;
 7
                    c.     To contract for obviously inadequate medical and psychiatric care for jail
 8                         inmates and arrestees, including creating financial incentives for jail and
                           CFMG staff not to send inmates with emergency medical needs to a hospital;
 9

10                  d.     To allow, encourage, and require Licensed Vocational Nurses to work
                           outside their legal scope of practice and without appropriate supervision;
11
                    e.     To allow, encourage, and require unlicensed, incompetent, inadequately
12                         trained and/or inadequately supervised staff to assess inmates’ medical and
                           psychiatric condition, needs, and treatment, including to decide whether or
13
                           not to provide inmates with necessary emergency care and hospitalization;
14
                    f.     To fail to institute, require, and enforce proper and adequate training,
15                         supervision, policies, and procedures concerning handling mentally ill and/or
                           emotionally disturbed persons or persons in medical crisis;
16
                    g.     To cover up violations of constitutional rights by any or all of the following:
17

18                            i.      By failing to properly investigate and/or evaluate incidents of
                                      violations of rights, including by unconstitutional medical and
19                                    psychiatric care at the jail;
20                           ii.      By ignoring and/or failing to properly and adequately investigate
21                                    and/or investigate and discipline unconstitutional or unlawful
                                      conduct by jail staff and CFMG employees; and
22
                            iii.      By allowing, tolerating, and/or encouraging jail and CFMG staff
23                                    to: fail to file complete and accurate reports; file false reports;
                                      make false statements; and/or obstruct or interfere with
24                                    investigations of unconstitutional or unlawful conduct by
25                                    withholding and/or concealing material information;

26                  h.     To allow, tolerate, and/or encourage a “code of silence” among law
                           enforcement officers, sheriff’s office personnel, and CFMG staff at the jail
27                         whereby an officer or member of the sheriff’s office, or CFMG staff does not
28
     COMPLAINT AND JURY DEMAND                       27
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 29 of 43


                           provide adverse information against a fellow officer, or member of the
 1                         SCSO, or CFMG staff;
 2
                    i.     To fail to have and enforce necessary, appropriate, and lawful policies,
 3                         procedures, and training programs to prevent or correct the unconstitutional
                           conduct, customs, and procedures described in this Complaint and in
 4                         subparagraphs (a) through (h) above, with deliberate indifference to the rights
                           and safety of Decedent, of Plaintiff and the public, and in the face of an
 5                         obvious need for such policies, procedures, and training programs.
 6
            91.     The unconstitutional actions and/or omissions of Defendants HULL and KUYPER
 7
     as well as other officers employed by or acting on behalf of the Defendant CITY, on information
 8
     and belief, were pursuant to the following customs, policies, practices, and/or procedures of
 9

10   Defendant CITY, stated in the alternative, which were directed, encouraged, allowed, and/or ratified

11   by policymaking officers for Defendant CITY and its and its police department, including

12   Defendant CHIEF MOORE:
13
                    a.     To fail to properly and adequately hire, train, supervise, and monitor patrol
14                         officers;

15                  b.     To fail to use appropriate and generally accepted law enforcement procedures
                           for handling mentally ill and/or emotionally disturbed persons or persons in
16                         medical crisis;
17
                    c.     To fail to institute, require, and enforce proper and adequate training,
18                         supervision, policies, and procedures concerning handling mentally ill and/or
                           emotionally disturbed persons or persons in medical crisis;
19
                    d.     To cover up violations of constitutional rights by any or all of the following:
20

21                         i.      By failing to properly investigate and/or evaluate complaints or
                                   incidents of unlawful seizures of and/or handling of mentally ill
22                                 and/or emotionally disturbed persons or persons in medical crisis;

23                         ii.     By ignoring and/or failing to properly and adequately investigate
                                   and/or discipline unconstitutional or unlawful law enforcement
24                                 activity; and
25
                           iii.    By allowing, tolerating, and/or encouraging law enforcement officers
26                                 to: fail to file complete and accurate reports; file false reports; make
                                   false statements; intimidate, bias and/or “coach” witnesses to give
27                                 false information and/or to attempt to bolster officers’ stories; and/or
                                   obstruct or interfere with investigations of unconstitutional or
28
     COMPLAINT AND JURY DEMAND                        28
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 30 of 43


                                   unlawful law enforcement conduct by withholding and/or concealing
 1                                 material information;
 2
                    e.      To allow, tolerate, and/or encourage a “code of silence” among law
 3                          enforcement officers whereby an officer does not provide adverse
                            information against a fellow law enforcement officer;
 4
                    f.      To fail to have and enforce necessary, appropriate, and lawful policies,
 5                          procedures, and training programs to prevent or correct the unconstitutional
 6                          conduct, customs, and procedures described in this Complaint and in
                            subparagraphs (a) through (e) above, with deliberate indifference to the rights
 7                          and safety of Decedent, of Plaintiff and the public, and in the face of an
                            obvious need for such policies, procedures, and training programs.
 8
            92.     Defendants CITY, COUNTY, and CFMG, through their employees and agents, and
 9

10   through their policy-making supervisors, MOORE, BOSENKO, KENT, DOE Defendant 1,

11   RUBALCAVA, and remaining DOES, failed to properly hire, train, instruct, monitor, supervise,

12   evaluate, investigate, and discipline Defendants HULL, KUYPER, RODGERS, MASON,
13
     MCQUILLAN, DORSTAD, REAM, SMITH, MAIKE, COLLINS, CALLAHAN, SAEGER, AND
14
     REMAINING DOES, and other CITY, COUNTY, and CFMG personnel, with deliberate
15
     indifference to Plaintiff’s, Decedent’s, and others’ constitutional rights, which were thereby violated
16
     as described above.
17

18          93.     The unconstitutional actions and/or omissions of Defendants RODGERS, MASON,

19   MCQUILLAN, DORSTAD, REAM, SMITH, MAIKE, COLLINS, CALLAHAN, SAEGER, AND
20   REMAINING DOES, and other Sheriff’s Office personnel, as described above, were approved,
21
     tolerated, and/or ratified by policymaking officers for the COUNTY and its Sheriff’s Office,
22
     including Defendants BOSENKO and KENT, and by CFMG and CFMG medical director DOE
23
     Defendant 1. Plaintiff is informed and believes and thereon alleges that the details of this incident
24

25   have been revealed to the authorized policymakers within the COUNTY, the Shasta County

26   Sheriff’s Office, and CFMG, and that such policymakers have direct knowledge of the fact that the

27   death of RANDALL JOHNSON was the result of deliberate indifference to his serious medical
28
     COMPLAINT AND JURY DEMAND                        29
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 31 of 43


     needs. Notwithstanding this knowledge, the authorized policymakers within the COUNTY, its
 1

 2   Sheriff’s Office, and CFMG have approved of the conduct and decisions of Defendants RODGERS,

 3   MASON, MCQUILLAN, DORSTAD, REAM, SMITH, MAIKE, COLLINS, CALLAHAN,

 4   SAEGER, AND REMAINING DOES in this matter, and have made a deliberate choice to endorse
 5   such conduct and decisions, and the basis for them, that resulted in the death of RANDALL
 6
     JOHNSON. By so doing, the authorized policymakers within the COUNTY and its Sheriff’s
 7
     Office, and CFMG have shown affirmative agreement with the individual Defendants’ actions and
 8
     have ratified the unconstitutional acts of the individual Defendants. Furthermore, Plaintiff is
 9

10   informed and believes, and thereupon alleges, that DEFENDANTS BOSENKO, KENT, DOE

11   Defendant 1, RUBALCAVA, and other policy-making officers for the COUNTY and CFMG were

12   and are aware of a pattern of misconduct and injury caused by COUNTY law enforcement officers
13
     and CFMG employees similar to the conduct of Defendants described herein, but failed to discipline
14
     culpable law enforcement officers and employees and failed to institute new procedures and policy
15
     within the COUNTY and CFMG.
16
            94.     The unconstitutional actions and/or omissions of Defendants HULL and KUYPER,
17

18   as described above, were approved, tolerated, and/or ratified by policymaking officers for the CITY

19   and its police department, including Defendant CHIEF MOORE. Plaintiff is informed and believes
20   and thereon alleges that the details of this incident have been revealed to the authorized
21
     policymakers within the Redding Police Department, and that such policymakers including CHIEF
22
     MOORE have direct knowledge of the fact that the arrest and death of RANDALL JOHNSON were
23
     not justified, but represented objective unreasonableness and deliberate indifference to serious
24

25   medical needs. Further, Defendant MOORE must have known that Defendants HULL and

26   KUYPER violated both generally accepted law enforcement standards and Reddings’ Police

27   Department policies by conspiring to avoid transporting, and refusing to transport, MR. JOHNSON
28
     COMPLAINT AND JURY DEMAND                         30
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 32 of 43


     to an appropriate medical facility rather than the jail, and by prohibiting the AMR Emergency
 1

 2   Personnel from assessing, treating, and transporting MR. JOHNSON to the hospital.

 3   Notwithstanding this knowledge, CHIEF MOORE and other authorized policymakers within the

 4   CITY have approved of the conduct and decisions of Defendants HULL and KUYPER in this
 5   matter, and have made a deliberate choice to endorse such conduct and decisions, and the basis for
 6
     them, that resulted in the death of MR. JOHNSON. By so doing, CHIEF MOORE and other
 7
     authorized policymakers within the CITY have shown affirmative agreement with the individual
 8
     Defendants’ actions and have ratified the unconstitutional acts of the individual Defendants.
 9

10          95.     The aforementioned customs, policies, practices, and procedures; the failures to

11   properly and adequately hire, train, instruct, monitor, supervise, evaluate, investigate, and

12   discipline; and the unconstitutional orders, approvals, ratification, and toleration of wrongful
13
     conduct of Defendants CITY, COUNTY, and CFMG were a moving force and/or a proximate cause
14
     of the deprivations of Decedent’s clearly established and well-settled constitutional rights in
15
     violation of 42 U.S.C. § 1983, as more fully set forth above at ¶¶ 83-84.
16
            96.     Defendants subjected Decedent to their wrongful conduct, depriving Decedent of
17

18   rights described herein, knowingly, maliciously, and with conscious and reckless disregard for

19   whether the rights and safety of Decedent, Plaintiff and others would be violated by their acts and/or
20   omissions.
21
            97.     As a direct and proximate result of the unconstitutional actions, omissions, customs,
22
     policies, practices, and procedures of Defendants CITY, COUNTY, and CFMG, as described
23
     above, Decedent and Plaintiff suffered serious injuries and death, Plaintiff is entitled to damages,
24

25   penalties, costs, and attorneys’ fees against Defendants CITY, COUNTY, and CFMG as set forth

26   above in ¶¶ 85-88, including punitive damages against Defendant CFMG.

27

28
     COMPLAINT AND JURY DEMAND                         31
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 33 of 43


                           THIRD CAUSE OF ACTION
 1                    (Supervisory Liability - 42 U.S.C. § 1983)
 2   AGAINST DEFENDANTS MOORE, BOSENKO, KENT, DOE Defendant 1, RUBALCAVA,
                            AND REMAINING DOES
 3
             98.    Plaintiff realleges each and every paragraph in this complaint as if fully set forth
 4
     here.
 5

 6           99.    At all material times, Defendants MOORE, BOSENKO, KENT, DOE Defendant 1,

 7   RUBALCAVA, and REMAINING DOES, had the duty and responsibility to constitutionally hire,

 8   train, instruct, monitor, supervise, evaluate, investigate, staff, and discipline the other Defendants
 9
     employed by their respective agencies in this matter, as well as all employees and agents of the
10
     Redding Police Department, Shasta County Sheriff’s Office, and CFMG.
11
             100.   Defendants MOORE, BOSENKO, KENT, DOE Defendant 1, RUBALCAVA, and
12
     REMAINING DOES failed to properly hire, train, instruct, monitor, supervise, evaluate,
13

14   investigate, and discipline the respective employees of their agencies, including Defendants HULL,

15   KUYPER, RODGERS, MASON, MCQUILLAN, DORSTAD, REAM, SMITH, MAIKE,
16   COLLINS, CALLAHAN, SAEGER, AND REMAINING DOES, and other CITY, COUNTY,
17
     Sheriff’s Office, and CFMG personnel, with deliberate indifference to Plaintiff’s, Decedent’s, and
18
     others’ constitutional rights, which were thereby violated as described above.
19
             101.   As supervisors, Defendants MOORE, BOSENKO, KENT, DOE Defendant 1,
20

21   RUBALCAVA, and REMAINING DOES, each permitted and failed to prevent the unconstitutional

22   acts of other Defendants and individuals under their supervision and control, and failed to properly

23   supervise such individuals, with deliberate indifference to the rights and serious medical needs of
24   MR. JOHNSON. Each of these supervising Defendants either directed his or her subordinates in
25
     conduct that violated Decedent’s rights, OR set in motion a series of acts and omissions by his or
26
     her subordinates that the supervisor knew or reasonably should have known would deprive
27
     Decedent of rights, OR knew his or her subordinates were engaging in acts likely to deprive
28
     COMPLAINT AND JURY DEMAND                         32
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 34 of 43


     Decedent of rights and failed to act to prevent his or her subordinate from engaging in such conduct,
 1

 2   OR disregarded the consequence of a known or obvious training deficiency that he or she must have

 3   known would cause subordinates to violate Decedent’s rights, and in fact did cause the violation of

 4   Decedent’s rights. (See, Ninth Circuit Model Civil Jury Instruction 9.4). Furthermore, each of
 5   these supervising Defendants is liable in their failures to intervene in their subordinates’ apparent
 6
     violations of Decedents’ rights.
 7
            102.    The unconstitutional customs, policies, practices, and/or procedures of Defendants
 8
     CITY, COUNTY, and CFMG, stated herein, were directed, encouraged, allowed, and/or ratified by
 9

10   policymaking officers for Defendant CITY and its police department, Defendant COUNTY and its

11   Sheriff’s Office, and Defendant CFMG, including Defendants MOORE, BOSENKO, KENT, DOE

12   Defendant 1, RUBALCAVA, and REMAINING DOES, respectively, with deliberate indifference
13
     to Plaintiff’s, Decedent’s, and others’ constitutional rights, which were thereby violated as
14
     described above.
15
            103.    The unconstitutional actions and/or omissions of Defendants HULL, KUYPER,
16
     RODGERS, MASON, MCQUILLAN, DORSTAD, REAM, SMITH, MAIKE, COLLINS,
17

18   CALLAHAN, SAEGER, AND REMAINING DOES, and other Police, Sheriff’s Office, and

19   CFMG personnel, as described above, were approved, tolerated, and/or ratified by policymaking
20   officers for the CITY and its police department including Defendant MOORE, COUNTY and its
21
     Sheriff’s Office including Defendants BOSENKO and KENT, and by CFMG and DOE Defendant
22
     1. Plaintiff is informed and believes and thereon alleges that the details of this incident have been
23
     revealed to Defendants MOORE, BOSENKO, KENT, and DOE Defendant 1 and that such
24

25   Defendant-policymakers have direct knowledge of the fact that the death of RANDALL JOHNSON

26   was not justified or necessary, but represented deliberate indifference to his serious medical needs,

27   as set forth in paragraphs 83-84 and 93-94 above. Notwithstanding this knowledge, on information
28
     COMPLAINT AND JURY DEMAND                         33
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 35 of 43


     and belief, Defendants MOORE, BOSENKO, KENT, and DOE Defendant 1 have approved and
 1

 2   ratified of the conduct and decisions of HULL, KUYPER, RODGERS, MASON, MCQUILLAN,

 3   DORSTAD, REAM, SMITH, MAIKE, COLLINS, CALLAHAN, SAEGER, AND REMAINING

 4   DOES in this matter, and have made a deliberate choice to endorse such conduct and decisions, and
 5   the basis for them, that resulted in the death of RANDALL JOHNSON. By so doing, Defendants
 6
     MOORE, BOSENKO, KENT, and DOE Defendant 1 have shown affirmative agreement with the
 7
     individual Defendants’ actions and have ratified the unconstitutional acts of the individual
 8
     Defendants. Furthermore, Plaintiff is informed and believes, and thereupon alleges, that Defendants
 9

10   MOORE, BOSENKO, KENT, and DOE Defendant 1 and other policy-making officers for the

11   CITY, COUNTY, and CFMG were and are aware of a pattern of misconduct and injury, and a code

12   of silence, caused by CITY and COUNTY law enforcement officers and CFMG employees similar
13
     to the conduct of Defendants described herein, but failed to discipline culpable law enforcement
14
     officers and employees and failed to institute new procedures and policy within the CITY,
15
     COUNTY, and CFMG.
16
            104.    In addition, through Defendants DOE Defendant 1 and RUBALCAVA, on behalf of
17

18   Defendant CFMG, assigned and required LVN’s to work alone and unsupervised and outside their

19   legal scope of practice as described herein, even after the BVNPT confirmed that LVN’s cannot do
20   the triage, assessment, and screening Defendants assign them to do, and even though Defendants
21
     know the LVN scope of practice is limited to data collection and recording and reporting
22
     information to a registered nurse, mid-level practitioner, or physicians. These Defendants have
23
     persisted in these violations of the law, to save money for CFMG and increase their profits, with
24

25   deliberate indifference to the rights and safety of RANDALL JOHNSON and other patients.

26          105.    The aforementioned customs, policies, practices, and procedures; the failures to

27   properly and adequately hire, train, instruct, monitor, supervise, evaluate, investigate, and
28
     COMPLAINT AND JURY DEMAND                         34
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 36 of 43


     discipline; and the unconstitutional orders, approvals, ratification, and toleration of wrongful
 1

 2   conduct of Defendants MOORE, BOSENKO, KENT, DOE Defendant 1, RUBALCAVA, and

 3   REMAINING DOES were a moving force and/or a proximate cause of the deprivations of

 4   Decedent’s clearly established and well-settled constitutional rights in violation of 42 U.S.C. §
 5   1983, as more fully set forth above at ¶¶ 83-84.
 6
             106.   Defendants subjected Decedent to their wrongful conduct, depriving Decedent of
 7
     rights described herein, knowingly, maliciously, and with conscious and reckless disregard for
 8
     whether the rights and safety of Decedent, Plaintiff and others would be violated by their acts and/or
 9

10   omissions.

11           107.   As a direct and proximate result of the unconstitutional actions, omissions, customs,

12   policies, practices, and procedures of Defendants MOORE, BOSENKO, KENT, DOE Defendant 1,
13
     RUBALCAVA, and REMAINING DOES as described above, Plaintiff sustained serious and
14
     permanent injuries and is entitled to damages, penalties, costs, and attorneys’ fees as set forth above
15
     in ¶¶ 85-88.
16

17                            FOURTH CAUSE OF ACTION
                      (Violation of Civil Code § 52.1) – Survival Claim
18       AGAINST DEFENDANTS HULL, KUYPER, RODGERS, MASON, MCQUILLAN,
         DORSTAD, REAM, SMITH, MAIKE, COLLINS, CALLAHAN, SAEGER, MOORE,
19        BOSENKO, KENT, DOE Defendant 1, RUBALCAVA, CITY, COUNTY, CFMG
                                  and REMAINING DOES
20

21           108.   Plaintiff realleges each and every paragraph in this complaint as if fully set forth

22   here.

23           109.   Plaintiff brings the claims in this cause of action as survival claims permissible under
24   California law, including Cal. Code of Civ. Proc. Section 377.20 et. seq.
25
             110.   By their acts, omissions, customs, and policies, DEFENDANTS HULL, KUYPER,
26
     RODGERS, MASON, MCQUILLAN, DORSTAD, REAM, SMITH, MAIKE, COLLINS,
27
     CALLAHAN, SAEGER, MOORE, BOSENKO, KENT, DOE Defendant 1, RUBALCAVA,
28
     COMPLAINT AND JURY DEMAND                          35
         Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 37 of 43


     CITY, COUNTY, CFMG and REMAINING DOES, each Defendant acting in concert/conspiracy,
 1

 2   as described above, while RANDALL JOHNSON was in custody, and by threat, intimidation,

 3   and/or coercion, interfered with, attempted to interfere with, and violated RANDALL JOHNSON’s

 4   rights under California Civil Code § 52.1 and under the United States Constitution and California
 5   Constitution as follows:
 6
                     a.     The right to be free from an unreasonable and unlawful arrest as secured by
 7                          the Fourth Amendment to the United States Constitution and by the
                            California Constitution, Article 1, §13 [by Defendants HULL and KUYPER
 8                          only];
 9
                     b.     The right to be free from objectively unreasonable treatment and deliberate
10                          indifference to RANDALL JOHNSON’s serious medical needs while in
                            custody as a pretrial detainee as secured by the Fourth and/or Fourteenth
11                          Amendments to the United States Constitution and by California
                            Constitution, Article 1, §§ 7 and 13;
12
                     c.     The right to enjoy and defend life and liberty; acquire, possess, and protect
13
                            property; and pursue and obtain safety, happiness, and privacy, as secured by
14                          the California Constitution, Article 1, § 1;

15                   d.     The right to protection from bodily restraint, harm, or personal insult, as
                            secured by California Civil Code § 43; and
16
                     e.     The right to emergency medical care as required by California Government
17
                            Code §845.6.
18            111.   Defendants’ violations of Plaintiff’s and Decedent’s due process rights with
19   deliberate indifference, in and of themselves constitute violations of the Bane Act. 1 Alternatively,
20   separate from, and above and beyond, Defendants’ attempted interference, interference with, and
21   violation of RANDALL JOHNSON’s rights as described above, Defendants violated Decedent’s
22   rights by the following conduct constituting threat, intimidation, or coercion:
23

24
     1
25     See Atayde v. Napa State Hosp., No. 1:16-cv-00398-DAD-SAB, 2016 U.S. Dist. LEXIS 126639,
     at *23 (E.D. Cal. Sept. 16, 2016) (citing M.H. v. Cty. of Alameda, 90 F. Supp. 3d 889, 899 (N.D.
26   Cal. 2013); see also, Cornell v. City and County of San Francisco, Nos. A141016, A142147, 2017
     Cal. App. LEXIS 1011 at *58, f.n. 32 (Cal. Ct. App. Nov. 16, 2017) (approving M.H., supra.);
27   Reese v. County of Sacramento, 888 F.3d 1030, 1043-44 (9th Cir. 2018) (following Cornell);
     Rodriguez v. County of L.A., 891 F.3d 776, 799, 802 (9th Cir. 2018) (following Cornell).
28
     COMPLAINT AND JURY DEMAND                         36
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 38 of 43


                        a. With deliberate indifference to RANDALL JOHNSON’s serious medical
 1                         needs, suffering, and risk of grave harm including death, depriving
 2                         RANDALL JOHNSON of necessary, life-saving care for his medical and/or
                           psychiatric needs, including sending away emergency medical services and
 3                         taking him to jail, where he serious medical needs were ignored;

 4                      b. Subjecting RANDALL JOHNSON to ongoing violations of his rights to
                           prompt care for his serious medical and psychiatric needs over days, causing
 5                         immense and needless suffering, intimidation, coercion, and threats to his life
 6                         and well-being;

 7                      c. Defendants HULL and KUYPER subjecting RANDALL JOHNSON to an
                           unreasonable seizure and unlawful arrest for the purpose of depriving him of
 8                         his right to treatment for his serious medical and psychiatric needs;
 9
                        d. Defendants HULL and KUYPER arresting RANDALL JOHNSON because
10                         of his medical/psychiatric condition and need for emergency medical care;

11                      e. Violating multiple rights of RANDALL JOHNSON, taunting him and
                           laughing about his medical emergency, requiring him to remain in jail
12                         covered in urine, vomit, and feces, and using unnecessary and excessive
                           holds and force as described herein, such that the multiple violations were
13
                           threatening, intimidating, or coercive;
14
                        f. Requiring psychiatric patients in crisis to go to, or remain in, jail instead of
15                         allowing them to receive necessary emergency medical and psychiatric care;
16                      g. Deliberately contracting for and causing the provision of inadequate and
                           incompetent medical and mental health care to Shasta County jail detainees
17
                           and inmates;
18
                        h. Requiring LVN’s to work outside their scope of practice, and conduct
19                         assessments, triage, and make medical and housing decisions for patients,
                           including RANDALL JOHNSON, they are not competent to make;
20

21                      i. Instituting and maintaining the unconstitutional customs, policies, and
                           practices described herein, when it was obvious that in doing so, individuals
22                         such as RANDALL JOHNSON would be subjected to violence, threat,
                           intimidation, coercion, and ongoing violations of rights as Decedent was
23                         here.
24          112.    The threat, intimidation, and coercion described herein were not necessary or
25
     inherent to Defendants’ violation of Decedent’s rights, or to any legitimate and lawful jail or law
26
     enforcement activity.
27

28
     COMPLAINT AND JURY DEMAND                        37
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 39 of 43


              113.   Further, all of Defendants’ violations of duties and rights, and coercive conduct,
 1

 2   described herein were volitional acts; none was accidental or merely negligent.

 3            114.   Further, each Defendant violated Plaintiff’s and Decedent’s rights with the specific

 4   intent and purpose to deprive them of their enjoyment of those rights and of the interests protected
 5   by those rights.
 6
              115.   Defendants CITY, COUNTY, and CFMG are vicariously liable for the violation of
 7
     rights by their employees and agents.
 8
              116.   As a direct and proximate result of Defendants’ violation of California Civil Code §
 9

10   52.1 and of Decedent’s rights under the United States and California Constitutions, Plaintiff (as

11   successor in interest for Decedent) sustained injuries and damages, and against each and every

12   Defendant is entitled to relief as set forth above at ¶¶ 85-88, including punitive damages against all
13
     individual Defendants and CFMG, and all damages allowed by California Civil Code §§ 52 and
14
     52.1 and California law, not limited to costs attorneys’ fees, and civil penalties.
15

16                              FIFTH CAUSE OF ACTION
17                                     (Negligence)
             AGAINST DEFENDANTS HULL, KUYPER, RODGERS, MASON, MCQUILLAN,
18                  DORSTAD, AND REMAINING DOES, CITY, AND COUNTY

19            117.   Plaintiff realleges each and every paragraph in this complaint as if fully set forth
20   here.
21
              118.   At all times, Defendants HULL, KUYPER, RODGERS, MASON, MCQUILLAN,
22
     DORSTAD, and REMAINING DOES owed Plaintiff and Decedent the duty to act with due care in
23
     the execution and enforcement of any right, law, or legal obligation.
24

25            119.   At all times, these Defendants owed Plaintiff and Decedent the duty to act with

26   reasonable care.

27

28
     COMPLAINT AND JURY DEMAND                          38
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 40 of 43


            120.    These general duties of reasonable care and due care owed to Plaintiff and Decedent
 1

 2   by these Defendants include but are not limited to the following specific obligations:

 3                  a.      To summon, or transport RANDALL JOHNSON to, necessary and
                            appropriate emergency medical care for RANDALL JOHNSON;
 4
                    b.      To refrain from subjecting RANDALL JOHNSON to an unreasonable
 5                          seizure and arrest;
 6
                    c.      To refrain from unreasonably creating danger or increasing RANDALL
 7                          JOHNSON’s risk of harm, using unnecessary force against him, leaving him
                            covered in feces, urine, and vomit, and taunting him and joking about his life-
 8                          threatening medical emergency;
 9
                    d.      To use generally accepted law enforcement procedures and tactics, including
10                          restraint procedures, that are reasonable and appropriate for RANDALL
                            JOHNSON’s s status as a mentally ill and/or emotionally disturbed person in
11                          medical crisis with serious medical needs;

12                  e.      To refrain from abusing their authority granted them by law;
13
                    f.      To refrain from violating Plaintiff's rights as guaranteed by the United States
14                          and California Constitutions, as set forth above, and as otherwise protected
                            by law.
15
            121.    Defendants HULL, KUYPER, RODGERS, MASON, MCQUILLAN, DORSTAD,
16
     and REMAINING DOES, through their acts and omissions, breached each and every one of the
17

18   aforementioned duties owed to Plaintiff and Decedent.

19          122.    Defendants CITY and COUNTY are vicariously liable for the violations of state law
20   and conduct of their officers, deputies, employees, and agents, including individual named
21
     defendants, under California Government Code section 815.2.
22
            123.    As a direct and proximate result of these Defendants’ negligence, Plaintiff and
23
     Decedent sustained injuries and damages, and against each and every Defendant named in this
24

25   cause of action in their individual capacities are entitled to relief as set forth above at ¶¶ 85-88,

26   including punitive damages against such individual Defendants.

27

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     COMPLAINT AND JURY DEMAND                          39
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 41 of 43


                                    SIXTH CAUSE OF ACTION
 1                       (Violation of California Government Code § 845.6)
 2           AGAINST DEFENDANTS HULL, KUYPER, RODGERS, MASON, MCQUILLAN,
                               DORSTAD, AND REMAINING DOES
 3
              124.   Plaintiff realleges each and every paragraph in this complaint as if fully set forth
 4
     here.
 5

 6            125.   Defendants HULL, KUYPER, RODGERS, MASON, MCQUILLAN, DORSTAD,

 7   and REMAINING DOES knew or had reason to know that RANDALL JOHNSON was in need of

 8   immediate medical care and treatment, including being transferred for emergency inpatient
 9
     hospitalization, and each failed to take reasonable action to summon immediate medical care and
10
     treatment. Defendants HULL and KUYPER even sent Emergency Medical Personnel away and
11
     prohibited them from seeing MR. JOHNSON. Each such individual defendant, employed by and
12
     acting within the course and scope of his/her employment with Defendants CITY and COUNTY,
13

14   knowing and/or having reason to know of RANDALL JOHNSON’s need for immediate medical

15   care and treatment, failed to take reasonable action to summon such care and treatment in violation
16   of California Government Code § 845.6.
17
              126.   Defendants CITY and COUNTY are vicariously liable for the violations of state law
18
     and conduct of their officers, deputies, employees, and agents, including individual named
19
     defendants, under California Government Code sections 815.2 and 845.6.
20

21            127.   As a direct and proximate result of the aforementioned acts of these Defendants,

22   Plaintiff and Decedent were injured as set forth above, and their losses entitle Plaintiff to all

23   damages allowable under California law. Plaintiff (individually and as Successor in Interest for
24   Decedent) sustained serious and permanent injuries and is entitled to damages, penalties, costs, and
25
     attorney fees under California law as set forth in ¶¶ 85-88, above, including punitive damages
26
     against these individual Defendants.
27

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     COMPLAINT AND JURY DEMAND                          40
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 42 of 43


                               SEVENTH CAUSE OF ACTION
 1                             (False Arrest and Imprisonment)
 2                AGAINST DEFENDANTS HULL, KUYPER, and CITY OF REDDING

 3            128.   Plaintiff realleges each and every paragraph in this complaint as if fully set forth

 4   here.
 5            129.   At no time during the events described above, and at all other pertinent times, did
 6
     Defendants HULL and KUYPER have a warrant for the arrest of RANDALL JOHNSON, nor did
 7
     Defendants have any facts or information that constituted probable cause that RANDALL
 8
     JOHNSON had committed or was about to commit a crime. Defendants unlawfully arrested MR.
 9

10   JOHNSON for being intoxicated in public, when MR. JOHNSON was not in public and was on his

11   own property. Further, these Defendants executed a full custodial arrest, causing MR. JOHNSON
12   to be taken to jail.
13
              130.   Defendants HULL and KUYPER intentionally and unlawfully exercised force to
14
     restrain, detain, and confine RANDALL JOHNSON, putting restraint on Decedent’s freedom of
15
     movement, and compelled RANDALL JOHNSON to remain and/or move against his will.
16

17   Defendants authorized, directed, and assisted in procuring, without process, RANDALL

18   JOHNSON’s unlawful arrest.

19            131.   Defendants’ unlawful arrest of RANDALL JOHNSON was intended to, and did,
20   deprive RANDALL JOHNSON of obviously necessary emergency medical/psychiatric care, and
21
     ultimately caused his death.
22
              132.   As a direct and proximate result of Defendants' acts and/or omissions as set forth
23
     above, Plaintiff sustained injuries and damages and is entitled to relief as set forth at ¶¶ 85-88,
24

25   above.

26                                          RELIEF REQUESTED

27            WHEREFORE, Plaintiff respectfully requests the following relief against each and every
28
     COMPLAINT AND JURY DEMAND                          41
     Case 2:19-cv-01722-JAM-DB Document 1 Filed 08/30/19 Page 43 of 43


     Defendant herein, jointly and severally:
 1

 2                  a.      Compensatory and exemplary damages in an amount according to proof and
                            which is fair, just, and reasonable;
 3
                    b.      Punitive damages under 42 U.S.C. § 1983 and California law in an amount
 4                          according to proof and which is fair, just, and reasonable;
 5                  c.      All other damages, penalties, costs, interest, and attorneys’ fees as allowed by
 6                          42 U.S.C. §§ 1983 and 1988; California Code of Civil Procedure §§ 377.20 et
                            seq., 377.60 et seq., and 1021.5; California Civil Code §§ 52 et seq., 52.1;
 7                          and as otherwise may be allowed by California and/or federal law;

 8                  d.      Declaratory and injunctive relief – including but not limited to reforms of
                            Defendants’ policies, practices, training and supervision – according to proof
 9
                            and which is fair, just, and reasonable;
10
                    e.      An Order requiring Defendant CFMG to cease allowing and assigning LVN’s
11                          to work outside their legal scope of practice and without sufficient
                            supervision;
12
                    f.      Such further relief, according to proof, that this Court deems appropriate and
13
                            lawful.
14

15
                                                JURY DEMAND
16

17          Plaintiff hereby demands a jury trial in this action.

18

19   Dated: August 30, 2019                        HADDAD & SHERWIN LLP
20

21                                                 /s/ Julia Sherwin
                                                   JULIA SHERWIN
22
                                                   Attorneys for Plaintiff
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     COMPLAINT AND JURY DEMAND                         42
